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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                 Plaintiff,

v.                                                                  No: 2:19-cr-01715-RB-1

JAMES CHRISTOPHER BENVIE,

                 Defendant.


                              MEMORANDUM OPINION AND ORDER

       Defendant Christopher Benvie is charged with impersonating a Border Patrol Agent under

18 U.S.C. § 912. Before the Court are two pretrial motions: (1) the government’s Motion in Limine

to exclude certain testimony from Benvie (Doc. 33) and (2) the government’s Notice of intent to

include evidence of prior bad acts under Rule 404 (Doc. 34). Having reviewed the parties’

submissions and arguments, the Court will grant in part the Motion in Limine, and conditionally

allow the Rule 404 evidence.

I.     Background

       On April 15, 2019 and April 17, 2019, Benvie is alleged to have “falsely assumed and

pretended to be an officer and employee acting under the authority of the United States.” (Doc. 2.)

Specifically, he is charged with impersonating a Border Patrol Agent under 18 U.S.C. § 912, which

holds that:

       Whoever falsely assumes or pretends to be an officer or employee acting under the
       authority of the United States or any department, agency or officer thereof, and acts
       as such, or in such pretended character demands or obtains any money, paper,
       document, or thing of value, shall be fined under this title or imprisoned not more
       than three years, or both.
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18 U.S.C. § 912. Benvie allegedly filmed himself confronting illegal immigrants, claiming to work

for Border Patrol. (Doc. 33 at 1.) Moreover, he made various commands to the immigrants and

“asked them questions regarding their nationality.” (Id.) After being charged, Benvie “posted

videos of himself discussing the charges against him and what he views as elements of the crimes

that the United States must prove at trial.” (Id. at 2.)

II.     Motion in Limine

        The Federal Rules of Evidence state that “[i]rrelevant evidence is not admissible,” and

“[r]elevant evidence is admissible unless” prohibited by federal law. Fed. R. Evid. 402. Relevant

evidence “has any tendency to make a fact more or less probable than it would be without the

evidence; and the fact is of consequence in determining the action.” Fed. R. Evid. 401 (alteration

in original). Further, the Court can “exclude relevant evidence if its probative value is substantially

outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”

Fed. R. Evid. 403. Unfair prejudice typically occurs when evidence would elicit an emotional

response—not simply because it affects an opposing party’s case. United States v. Rodriguez, 192

F.3d 946, 951 (10th Cir. 1999). And as long as the testimony is not unnecessarily cumulative or

repetitive, the Court will not view it as a waste of time or causing delay. United States v. Dalton,

918 F.3d 1117, 1133 (10th Cir. 2019). Still, whether to admit evidence is within the district court’s

discretion, see United States v. Lugo, 170 F.3d 996, 1005 (10th Cir. 1999), but the Tenth Circuit

cautions that courts should be cognizant that exclusion is “an extraordinary remedy and should be

used sparingly.” United States v. Smalls, 605 F.3d 765, 787 (10th Cir. 2010) (quoting United States

v. Tan, 254 F.3d 1204, 1211 (10th Cir. 2001) (internal quotation marks and citation omitted)).




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        a. Benvie’s testimony regarding the legal elements of 18 U.S.C. § 912.

        The government seeks to preclude Benvie’s “theories regarding the elements of the crime

charged.” (Doc. 33 at 2 (capitalization altered).) It argues that the “defendant is not an attorney,

and has no specialized training in the law. . . . [I]t is the Court’s job to instruct the jury, in the form

of jury instructions given at the end of the trial, as to the law that applies to this case.” (Id.)

Therefore, Benvie’s description of the legal elements is “irrelevant.” (Id.)

        In the government’s Motion in Limine, it describes the elements of 18 U.S.C. § 912 as

follows:

        First: The defendant falsely assumed or pretended to be an officer or employee
        acting under the authority of the United States;
        Second: the defendant knew that such assumption or pretension was false; and
        Third: the defendant committed any act in the assumed role.

(Doc. 33 at 1 (emphasis added).) At the same time, the Tenth Circuit Pattern Jury Instructions

describe section 912 in this way:

        First: the defendant falsely [assumed] [pretended] to be an [officer] [employee]
        acting under the authority of the United States;
        Second: the defendant knew that such assumption or pretension was false; and
        Third: while acting in such [assumed] [pretended] character, the defendant
        [demanded] [obtained] [money] [something of value].

10th Cir. Pattern Jury Instructions (Criminal) § 2.40. Therefore, some disagreement about the jury

instruction language exists between the parties regarding the third element of the crime.

        Circuit courts have debated what section 912’s phrase “acts as such” signifies. On the one

hand, some circuits believe that impersonation itself is all that is necessary under 18 U.S.C. § 912,

without any additional action. See United States v. Gayle, 967 F.2d 483, 488 (11th Cir. 1992);

United States v. Cohen, 631 F.2d 1223, 1224 (5th Cir. 1980). While an overt act need not fully

adhere to the actions a law enforcement officer would take, other circuits have required more than

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mere impersonation. See United States v. Robbins, 613 F.2d 688, 692 (8th Cir. 1979); United States

v. Rosser, 528 F.2d 652, 657–57 (D.C. Cir. 1976). The Tenth Circuit has relied on language in the

Supreme Court’s United States v. Barnow opinion that holds,

       “to act as such” means no more than to assume to act in the pretended character. It
       requires something beyond the false pretense . . . ; there must be some act in
       keeping with the pretense; but it would strain the meaning of the section to hold
       that the offender must act as a veritable officer of the government would act.
United States v. Neidlinger, 354 F. App’x 357, 361 (10th Cir. 2009) (quoting United States v.

Barnow, 239 U.S. 74, 77 (1915)). In Neidlinger, an individual flashed a badge pretending to be a

U.S. Marshal demanding an audience with a mayor—an action that went “beyond the original

impersonation.” Id. The court held that contrary to the defendant’s interpretation, he did not need

to perform an “official act” of a U.S. Marshal. Id. at 362. The Tenth Circuit therefore defines the

test to include (1) a false representation and (2) “act[ing] as such.” Id. at 363. With this ruling, the

government’s version of the instruction seemingly conforms to circuit precedent, but the Court

will ultimately determine which jury instructions to present.

       Taking all this, Benvie will not be permitted to discuss his interpretation of the law after

the Court delivers its instructions. The Court will draft jury instructions with participation from

the government and the Defendant. Any additional testimony from Benvie creates a risk of jury

confusion. At the same time, the Tenth Circuit noted that “acts as such” is not clearly defined and

fact-specific. Therefore, Benvie may discuss how his actions fit into the Court’s proffered legal

framework, and the government will be free to object if it believes that Benvie’s comments

constitute legal conclusions.

       b. Testimony regarding DOJ policies

       In addition, the government argues that “any testimony or evidence regarding [DOJ] Policy

is irrelevant and should be excluded from trial.” (Doc. 33 at 3 (capitalization altered).) On social


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media, Benvie cited the “now archived Criminal Resource Manual,” which allegedly argued that

DOJ should not pursue section 912 actions. (Id.) The U.S. Attorney’s Manual “was recently

revamped and renamed the Justice Manual,” and the “Criminal Resource Manual was

discontinued.” (Id.) The government contends that even if the old policies recommended that the

DOJ not bring these charges, “the law is clear that [DOJ] guidelines and policies do not create any

enforceable procedural or substantive rights for criminal defendants.” (Id.)

       Here, the government’s argument is correct. The Court does not need to treat DOJ policy

as law, and the decision to bring these charges against Benvie is within the discretion of the U.S.

Attorney’s Office as long as 18 U.S.C. § 912 remains good law. Benvie will claim that old policies

recommend against bringing such charges, but the Tenth Circuit has addressed section 912 crimes

at various times. See, e.g., United States v. Ramos-Arenas, 596 F.3d 783, 785 (10th Cir. 2010);

United States v. Neidlinger, 354 F. App’x 357, 358 (10th Cir. 2009). That the U.S. Attorney could

have decided not to bring these charges is irrelevant, and the Court will not allow Benvie to spend

time discussing DOJ policy and U.S. Attorney discretion. Even if the evidence was relevant, it is

likely that it would confuse issues for a jury and delay the proceedings in contravention of Rule

403. Thus, the Court will not allow testimony on DOJ policy.

III.   Rule 404 Other Acts Evidence

       The government next intends to include evidence that Benvie “participated in a child-

cancer charity scam, both on a GoFundMe site and at convenience stores . . . .” (Doc. 34 at 1.)

Benvie allegedly collected “money at a convenience store/gas station in Georgia in the name of a

child undergoing cancer treatment when, in fact, the money was not being collected for the child’s

treatment.” (Id. at 2.) He was “charged in Oklahoma with fraud after he was accused of running a

scam in which he collected donations for a child who had been diagnosed with cancer.” (Id.) In



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addition, Benvie “represented himself to be an attorney when he was not . . . . in a child custody

dispute and posed as an attorney to opposing counsel for the father in dispute.” (Id. at 1.)

       According to the Federal Rules of Evidence: “Evidence of other crimes, wrongs, or acts is

not admissible to prove character of a person in order to show action in conformity therewith. It

may, however, be admissible for other purposes, such as proof of motive, opportunity, intent,

preparation, plan, knowledge, identity, or absence of mistake or accident.” Fed. R. Evid. 404(b).

Inclusion requires (1) proper purpose, (2) relevance, (3) probative value that outweighs prejudice,

and potentially (4) a limiting instruction to the jury. Huddleston v. United States, 485 U.S. 681,

691–92 (1988); see also United States v. Henthorn, 864 F.3d 1241, 1255 (10th Cir. 2017) (applying

Huddleston). The Tenth Circuit allows such evidence when the conduct is sufficiently similar and

within a reasonable period of time. United States v. Ramirez, 63 F.3d 937, 943–44 (10th Cir. 1995);

see also United States v. Gutierrez, 696 F.2d 753, 755 (10th Cir. 1982) (requiring that the evidence

show a “signature quality” to the crime). “[T]o prove identity, evidence of prior illegal acts need

not be identical to the crime charged”; it only needs to closely resemble the conduct. United States

v. Shumway, 112 F.3d 1413, 1420 (10th Cir. 1997) (citations omitted). Aspects of this analysis

include: “geographic location; the unusual quality of the crime; the skill necessary to commit the

acts; or use of a distinctive device.” United States v. Smalls, 752 F.3d 1227, 1238 (10th Cir. 2014)

(citation omitted). This evidence of past criminal activity, however, must be introduced for a

proper purpose; it cannot be used to demonstrate criminal disposition. Tan, 254 F.3d at 1208.

       The government intends to include the prior acts evidence “to show knowledge, intent, or

absence of mistake.” (Doc. 34 at 4.) The elements of 18 U.S.C. § 912 require that Benvie knew he

was falsely assuming the role of a federal officer, so his “knowledge, intent, and lack of mistake

are thus material issues in this case, and his prior instances of deceit are relevant to these issues



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and the elements.” (Id.) Such evidence does not create unfair prejudice because “whether the

defendant pretended to be someone or something he was not will likely be the central issue that

the jury must determine at trial.” (Id. at 5.) Moreover, these prior acts are also admissible “to

challenge the defendant’s credibility if he testifies at trial.” (Id. at 6 (capitalization altered).) At the

same time, Benvie contends that the government is not introducing this evidence for a proper

purpose, and that “the child-cancer scam adds nothing to determine whether [the Defendant]

impersonated a Border Patrol Agent.” (Doc. 35 at 4.) And finally, the “low probative value is

substantially outweighed by the danger of unfair prejudice posed by the evidence of the child-

cancer scam.” (Id. at 5.)

        The Court will admit a limited version of this evidence. Rule 404 evidence may be included

for the purpose of showing knowledge, intent, and absence of mistake. See Fed. R. Evid. 404(b)(2).

Here, the government is trying to show that Benvie’s past fraudulent behavior indicates that the

alleged impersonation could not have been an accident or mistake—that he knowingly acted as a

Border Patrol Agent. The government thus introduces this evidence for reasons beyond proving

bad character or criminal disposition. Evidence is relevant if it has “any tendency to make a fact

[of consequence] more or less probable.” Fed. R. Evid. 401. This is the case when the acts are

similar in nature and time, or if it shows a particular state of mind necessary for the crime at issue.

United States v. Bonnett, 877 F.2d 1450, 1461 (10th Cir. 1989). Though the actions are somewhat

different, Benvie has a history of holding himself out as an attorney and fundraiser when he was

neither of those things. The Court will allow evidence that demonstrates Benvie’s history of

fraudulent behavior, but the specific details of the GoFundMe scheme are prejudicial and likely to

elicit an emotional response from the jury. Therefore, the Court will limit the 404 testimony to

Benvie’s history of engaging in fraudulent activities and not allow the government to discuss the



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details of that case—exploiting a sick child to collect money. In the event that Benvie testifies, the

government will be free to cross-examine related to these issues.

        THEREFORE,

        IT IS ORDERED that the government’s Motion to in Limine (Doc. 33) is GRANTED IN

PART.

        IT IS FURTHER ORDERED that the Rule 404 evidence (Doc. 34) is GRANTED IN

PART.



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                                                      ROBERT C. BRACK
                                                      SENIOR U.S. DISTRICT JUDGE




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